Case 1:25-cv-02329-TWT   Document 41-4   Filed 06/27/25   Page 1 of 11




            EXHIBIT C
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                    Rights expert finds              41-4 genocide
                                                        ‘reasonable grounds’ Filedis 06/27/25         Page
                                                                                     being committed in Gaza | 2
                                                                                                               UNof 11
                                                                                                                  News
                       Welcome to the United Nations




                                                                       AUDIO HUB  SUBSCRIBE 


                      Rights expert finds ‘reasonable
                      grounds’ genocide is being
                      committed in Gaza




                      UN Human Rights Council/Sérine Meradji | Francesca Albanese, Special Rapporteur on the situation
                      of human rights in the Palestinian territories, makes remarks at the 55th session of the UN Human
                      Rights Council in Geneva.




                      26 March 2024            Human Rights


                            There are "reasonable grounds" to believe that Israel is
                            committing genocide against Palestinians in Gaza, the UN
                            Special Rapporteur on the situation of human rights in the
                            Occupied Palestinian Territories said on Tuesday.




                      Francesca Albanese     was speaking at the UN Human Rights Council
                      in Geneva, where she presented her latest report , entitled ‘Anatomy of a
                      Genocide’, during an interactive dialogue with Member States.


https://news.un.org/en/story/2024/03/1147976                                                                              1/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                    Rights expert finds              41-4 genocide
                                                        ‘reasonable grounds’ Filedis 06/27/25         Page
                                                                                     being committed in Gaza | 3
                                                                                                               UNof 11
                                                                                                                  News

                      “Following nearly six months of unrelenting Israeli assault on occupied
                      Gaza, it is my solemn duty to report on the worst of what humanity is
                      capable of, and to present my findings,” she said.

                      “There are reasonable
                      grounds to believe that                       UN Human Rights Council
                      the threshold                                 @UN_HRC · Follow
                      indicating the
                                                           “Following nearly 6 months of
                      commission of the
                                                           unrelenting Israeli assault on
                      crime of genocide…                   occupied #Gaza, it is my solemn
                      has been met.”                       duty to report on the worst of what
                                                           humanity is capable of & to present
                      Three acts                           my findings: 'the Anatomy of a
                                                           Genocide'.”
                      committed
                                                           — Special Rapporteur
                      Citing international law,            @FranceskAlbs at @UN Human
                      Ms. Albanese                         Rights Council.
                      explained that
                      genocide is defined as               #HRC55
                      a specific set of acts
                      committed with the                                                        Watch on X
                      intent to destroy, in
                      whole or in part, a
                      national, ethnic, racial
                      or religious group.

                      “Specifically, Israel has
                      committed three acts
                      of genocide with the
                      requisite intent:
                      causing seriously
                      serious bodily or
                      mental harm to
                      members of the group,
                      deliberately inflicting
                      on the group conditions of life calculated to bring about its physical
                      destruction in whole or in part, and imposing measures intended to prevent
                      birth within the group,” she said.

                      Furthermore, “the genocide in Gaza is the most extreme stage of a long-
                      standing settler colonial process of erasure of the native Palestinians,” she
https://news.un.org/en/story/2024/03/1147976                                                                             2/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                    Rights expert finds              41-4 genocide
                                                        ‘reasonable grounds’ Filedis 06/27/25         Page
                                                                                     being committed in Gaza | 4
                                                                                                               UNof 11
                                                                                                                  News

                      continued.


                      ‘A tragedy foretold’
                      “For over 76 years, this process has oppressed the Palestinians as a people
                      in every way imaginable, crushing their inalienable right to self-
                      determination demographically, economically, territorially, culturally and
                      politically.”

                      She said the “colonial amnesia of the West has condoned Israel's colonial
                      settler project”, adding that “the world now sees the bitter fruit of the
                      impunity afforded to Israel. This was a tragedy foretold.”

                      Ms. Albanese said denial of the reality and the continuation of Israel's
                      impunity and exceptionalism is no longer viable, especially in light of the
                      binding UN Security Council resolution, adopted on Monday, which called
                      for an immediate ceasefire in Gaza.


                      Arms embargo and sanctions against Israel
                      “I implore Member States to abide by their obligations which start with
                      imposing an arms embargo and sanctions on Israel, and so ensure that the
                      future does not continue to repeat itself,” she concluded.

                      Special Rapporteurs and independent experts like Ms. Albanese receive
                      their mandates from the UN Human Rights Council. They are not UN staff
                      and do not receive payment for their work.


                      Israel ‘utterly rejects’ report
                      Israel did not participate in the dialogue but issued a press release stating
                      that it “utterly rejects” Ms. Albanese’s report, calling it “an obscene
                      inversion of reality”.

                      “The very attempt to level the charge of genocide against Israel is an
                      outrageous distortion of the Genocide Convention. It is an attempt to
                      empty the word genocide of its unique force and special meaning; and
                      turn the Convention itself into a tool of terrorists, who have total disdain for
                      life and for the law, against those trying to defend against them,” the
                      release said.


https://news.un.org/en/story/2024/03/1147976                                                                             3/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                    Rights expert finds              41-4 genocide
                                                        ‘reasonable grounds’ Filedis 06/27/25         Page
                                                                                     being committed in Gaza | 5
                                                                                                               UNof 11
                                                                                                                  News

                      Israel said its war is against Hamas, not Palestinian civilians.

                      “This is a matter of explicit government policy, military directives and
                      procedures. It is no less an expression of Israel’s core values. As stated,
                      our commitment to uphold the law, including our obligations under
                      international humanitarian law, is unwavering.”


                                   HRC55 | Francesca Albanese Alleges Israeli Genocide A…
                                                                                       A…




                      ‘Barbaric aggression continues’: Palestine
                      Ambassador
                      The Permanent Observer of the State of Palestine to the UN in Geneva,
                      Ibrahim Khraishi, noted that the report provides the historic context of
                      genocide against the Palestinian people.

                      He said Israel “continues its barbaric aggression” and refuses to abide by
                      the decision of the International Court of Justice   (ICJ ), issued in
                      January, to take provisional measures in order to prevent the crime of
                      genocide. Israel has also refused to abide by UN General Assembly and
                      Security Council resolutions, including the one adopted on Monday, he
                      added.

                      “And this means that all recommendations in the report of the Special
                      Rapporteur shall be implemented, and practical measures should be taken
                      to prevent the export of weapons, to boycott Israel commercially and
                      politically, and to implement mechanisms of accountability,” he said.




https://news.un.org/en/story/2024/03/1147976                                                                             4/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                    Rights expert finds              41-4 genocide
                                                        ‘reasonable grounds’ Filedis 06/27/25         Page
                                                                                     being committed in Gaza | 6
                                                                                                               UNof 11
                                                                                                                  News




                      © UNRWA/Mohammed Alsharif | Displaced Palestinians walk through the Nour Shams camp in the
                      West Bank.



                      Israeli settlement expansion
                      Separately, the UN Deputy High Commissioner for Human Rights, Nada Al-
                      Nashif, presented a report on Israeli settlements in the Occupied
                      Palestinian Territory during the period from 1 November 2022 to 31
                      October 2023.

                      “The reporting period has seen a drastic acceleration, particularly after 7
                      October 2023, of long-standing trends of discrimination, oppression and
                      violence against Palestinians that accompany Israeli occupation and
                      settlement expansion bringing the West Bank to the brink of catastrophe,”
                      she said.

                      There are now around 700,000 Israeli settlers in the West Bank, including
                      East Jerusalem, who live in 300 settlements and outposts, all of which are
                      illegal under international humanitarian law.


                      Expansion of existing settlements
                      The size of existing Israeli settlements has also expanded markedly,
                      according to the report by the UN human rights office, OHCHR                     .

                      Approximately 24,300 housing units within existing Israeli settlements in
                      the West Bank in Area C were advanced or approved during the reporting
                      period - the highest on record since monitoring began in 2017.

                      The report observed that policies of the current Israeli Government “appear
                      aligned, to an unprecedented extent, with the goals of the Israeli settler

https://news.un.org/en/story/2024/03/1147976                                                                             5/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                    Rights expert finds              41-4 genocide
                                                        ‘reasonable grounds’ Filedis 06/27/25         Page
                                                                                     being committed in Gaza | 7
                                                                                                               UNof 11
                                                                                                                  News

                      movement to expand long-term control over the West Bank, including East
                      Jerusalem, and to steadily integrate this occupied territory into the State of
                      Israel,” Ms. Al-Nashif said.


                      Transfer of power
                      During the reporting period, Israel took steps to transfer administrative
                      powers relating to settlements and land administration from the military
                      authorities to Israeli government offices, whose primary focus is to provide
                      services within the State of Israel.

                      “The report therefore raises serious concerns that a series of measures,
                      including this transfer of powers to the Israeli civilian officials, could
                      facilitate the annexation of the West Bank in violation of international law,
                      including the Charter of the United Nations,” she said.


                      ‘Dramatic increase’ in violence
                      There was also a dramatic increase in the intensity, severity and regularity
                      of Israeli settler violence against Palestinians, accelerating their
                      displacement from their land, in circumstances that may amount to forcible
                      transfer.

                      The UN recorded 835 incidents of settler violence in the first nine months
                      of 2023, the highest on record. Between 7 and 31 October 2023, the UN
                      recorded 203 settler attacks against Palestinians and monitored the killing
                      of eight Palestinians by settlers, all by firearms.

                      Of the 203 settler attacks, more than a third involved threats with firearms,
                      including shooting. Furthermore, almost half of all incidents between 7 and
                      31 October involved Israeli forces escorting or actively supporting Israeli
                      settlers while carrying out attacks.


                      Blurred lines
                      Ms. Al-Nashif said the line between settler violence and State violence has
                      further blurred, including violence with the declared intent to forcibly
                      transfer Palestinians from their land. She reported that in cases monitored
                      by OHCHR, settlers arrived masked, armed, and sometimes wearing the
                      uniforms of Israeli security forces.

https://news.un.org/en/story/2024/03/1147976                                                                             6/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                    Rights expert finds              41-4 genocide
                                                        ‘reasonable grounds’ Filedis 06/27/25         Page
                                                                                     being committed in Gaza | 8
                                                                                                               UNof 11
                                                                                                                  News

                      “They destroyed Palestinians’ tents, solar panels, water pipes and tanks,
                      hurling insults and threatening that, if Palestinians did not leave within 24
                      hours, they would be killed,” she said.

                      By the end of the reporting period, Israeli security forces had reportedly
                      handed out some 8,000 weapons to so-called “settlement defence
                      squads” and “regional defence battalions” in the West Bank, she
                      continued.

                      “After 7 October, the United Nations human rights office documented cases
                      of settlers wearing full or partial Israeli army uniforms and carrying army
                      rifles, harassing and attacking Palestinians, including shooting at them at
                      point-blank range.”


                      Evictions and demolitions
                      Israeli authorities also continued to implement eviction and demolition
                      orders against Palestinians based on discriminatory planning policies, laws
                      and practices, including on the grounds that properties lacked building
                      permits.

                      Ms. Al-Nashif said Israel demolished 917 Palestinian-owned structures in
                      the West Bank, including 210 in East Jerusalem, again one of the fastest
                      rates on record. As a result, more than 1,000 Palestinians were displaced.

                      “It is noteworthy that out of the 210 demolitions in East Jerusalem, 89 were
                      self-demolitions by their owners to avoid paying fines from the Israeli
                      authorities. This epitomizes the coercive environment that the Palestinians
                      live in,” she said.

                      The human rights report also documented Israel’s ongoing plan to double
                      the settler population in the Syrian Golan by 2027, which is currently
                      distributed among 35 different settlements.

                      Beside settlement expansion, commercial activity has been approved,
                      which she said may continue to limit the access of the Syrian population 
                                                                                               to
                      land and water.




                                Donate to the humanitarian response in Gaza
https://news.un.org/en/story/2024/03/1147976                                                                             7/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                    Rights expert finds              41-4 genocide
                                                        ‘reasonable grounds’ Filedis 06/27/25         Page
                                                                                     being committed in Gaza | 9
                                                                                                               UNof 11
                                                                                                                  News




                         ♦ Receive daily updates directly in your inbox - Subscribe here to a
                         topic.

                         ♦ Download the UN News app for your iOS or Android devices.




                                                                 GAZA




                         RELATED STORIES

                                               Gaza: Israel’s censure of rights expert should
                                               not distract from possible war crimes




                                               Rights experts call for probe into alleged
                                               violations against Palestinian women and girls




                                               At Arab League Summit, Guterres appeals for
                                               Gaza ceasefire and regional unity




https://news.un.org/en/story/2024/03/1147976                                                                             8/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                     Rights expert finds             41-4 genocide
                                                         ‘reasonable grounds’ Filedis06/27/25
                                                                                      being committed Page
                                                                                                      in Gaza 10
                                                                                                              | UN of 11
                                                                                                                   News


                      NEWS TRACKER: PAST STORIES ON THIS ISSUE




                      UN Security Council demands ‘immediate
                      ceasefire’ in Gaza, ending months-long deadlock
                      25 March 2024            Peace and Security
                      The UN Security Council on Monday adopted a resolution demanding an
                      immediate ceasefire in war-ravaged Gaza during Ramadan and calling for
                      the immediate and unconditional release of all hostages.




                      RESOURCES                                        SPOKESPERSON'S OFFICE                     



                      SECRETARY-GENERAL                                FIND US                                   




https://news.un.org/en/story/2024/03/1147976                                                                               9/10
6/23/25, 11:38 AM   Case 1:25-cv-02329-TWT           Document
                                     Rights expert finds             41-4 genocide
                                                         ‘reasonable grounds’ Filedis06/27/25
                                                                                      being committed Page
                                                                                                      in Gaza 11
                                                                                                              | UN of 11
                                                                                                                   News




                      A-Z SITE INDEX           COPYRIGHT             FAQ        FRAUD ALERT


                      PRIVACY NOTICE              TERMS OF USE




                                                                                            Donate


                      




https://news.un.org/en/story/2024/03/1147976                                                                               10/10
